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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                          DistrictDistrict
                                                     __________    of Columbia
                                                                           of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No. 21-sw-47
      BLACK 2014 CHEVROLET CRUZE LS WITH                                     )
       FLORIDA LICENSE PLATE PK957D AND                                      )
            VIN #1G1PA5SG937283380
                                                                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A.

located in the                                    District of                 Columbia                 , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               u contraband, fruits of crime, or other items illegally possessed;
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        21 U.S.C. § 841(a)(1)                     Possession with Intent to Distribute and Distribution of Controlled Substances
        21 U.S.C. § 846                           Conspiracy to Commit Such Offenses

          The application is based on these facts:
        See Attached Affidavit.


           u Continued on the attached sheet.
           u Delayed notice of        days (give exact ending date if more than 30 days:                                    ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                      Applicant’s signature

                                                                                        Jerrod C. Hughes, Task Force Officer, DEA
                                                                                                      Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (specify reliable electronic means).


Date:            02/12/2021
                                                                                                        Judge’s signature

City and state: District of Columbia                                                   Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                      Printed name and title
                          Case 1:21-sw-00047-RMM Document 1 Filed 02/12/21 Page 2 of 72
                                                                                     ✔ Original
                                                                                     u                         u Duplicate Original
AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV



                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District
                                                          __________     of Columbia
                                                                     District of __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. 21-sw-47
         BLACK 2014 CHEVROLET CRUZE LS WITH                                 )
          FLORIDA LICENSE PLATE PK957D AND                                  )
               VIN #1G1PA5SG937283380                                       )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                                  District of            Columbia
(identify the person or describe the property to be searched and give its location):
  See Attachment A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B.




        YOU ARE COMMANDED to execute this warrant on or before                February 25, 2021        (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                      Robin M. Meriweather                   .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                   .


Date and time issued:          02/12/2021
                                                                                                          Judge’s signature

City and state: District of Columbia                                                   Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                        Printed name and title
                           Case 1:21-sw-00047-RMM Document 1 Filed 02/12/21 Page 3 of 72
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 21-sw-47
Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
        Case 1:21-sw-00047-RMM Document 1 Filed 02/12/21 Page 4 of 72




                                          ATTACHMENT A

                                        Vehicle to be searched

The vehicle to be searched is described and pictured below:

A black 2014 Chevrolet Cruze LS with Florida license plate PK957D with VIN#

1G1PA5SG937283380, currently stored in a secure location in Washington, D.C.
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                                              ATTACHMENT B

                                               Items to be Seized

                 The items to be seized are fruits, evidence, records and information relating to,

contraband, or instrumentalities of violations of Title 21, United States Code, Section 841(a)(1)

(distribution, and possession with intent to distribute controlled substances) including, but not

limited to:

       a. Controlled substances, packaging materials, indicia of distribution, records and

              documents, receipts, notes ledgers and other papers including any computerized or

              electronic records including cellular telephones, relating to the ordering, purchase or

              possession of controlled substances;

       b. U.S. currency and other illicit gains from the distribution of controlled substances;

       c. Address and/or telephone books and papers, including computerized or electronic

              address and/or telephone records reflecting names, addresses and/or telephone

              numbers;

       d. Books, records, receipts, bank statements, and records, money drafts, and any other

              items evidencing the obtaining, secreting, transfer, concealment, storage and/or

              expenditure of money or other assets including, but not limited to, controlled

              substances;

       e. Documents and papers evidencing ownership of proceeds from the sale of controlled

              substances, storage and location of such assets and facilities to safely store and secure

              such items, such as safes, to include lock boxes, and strong boxes;




                                                       1
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       f. Photographs, in particular, photographs of controlled substances and photographs of

          individuals possessing controlled substances and photographs showing the association

          of individuals;

       g. Indicia of occupancy, residence, and/or ownership of the premises described herein,

          including, but not limited to, utility and telephone bills, cancelled envelopes, and keys;

       h. Cellular phones, computers, and other electronic storage media or digital devices;

       i. For any electronics searched, any conversations, whether through text messages or

          other applications, where the purchase and sale of cocaine and other controlled

          substances was discussed;

       j. For any electronics searched, any photographs of controlled substances.

              For any computer or storage medium whose seizure is otherwise authorized by this

warrant, and any computer or storage medium that contains or in which is stored records or

information that is otherwise called for by this warrant (hereinafter, “COMPUTER”):

       a. evidence of who used, owned, or controlled the COMPUTER at the time the things

          described in this warrant were created, edited, or deleted, such as logs, registry entries,

          configuration files, saved usernames and passwords, documents, browsing history, user

          profiles, email, email contacts, “chat,” instant messaging logs, photographs, and

          correspondence;

       b. evidence of software that would allow others to control the COMPUTER, such as

          viruses, Trojan horses, and other forms of malicious software, as well as evidence of

          the presence or absence of security software designed to detect malicious software;

       c. evidence of the lack of such malicious software;




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       d. evidence indicating how and when the computer was accessed or used to determine the

           chronological context of computer access, use, and events relating to crime under

           investigation and to the computer user;

       e. evidence indicating the computer user’s state of mind as it relates to the crime under

           investigation;

       f. evidence of the attachment to the COMPUTER of other storage devices or similar

           containers for electronic evidence;

       g. evidence of counter-forensic programs (and associated data) that are designed to

           eliminate data from the COMPUTER;

       h. evidence of the times the COMPUTER was used;

       i. passwords, encryption keys, and other access devices that may be necessary to access

           the COMPUTER;

       j. documentation and manuals that may be necessary to access the COMPUTER or to

           conduct a forensic examination of the COMPUTER;

       k. records of or information about Internet Protocol addresses used by the COMPUTER;

       l. records of or information about the COMPUTER’s Internet activity, including firewall

           logs, caches, browser history and cookies, “bookmarked” or “favorite” web pages,

           search terms that the user entered into any Internet search engine, and records of user-

           typed web addresses; and

       m. contextual information necessary to understand the evidence described in this

           attachment.

               As used above, the terms “records” and “information” includes all forms of creation

or storage, including any form of computer or electronic storage (such as hard disks or other media



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that can store data); any handmade form (such as writing); any mechanical form (such as printing

or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,

videotapes, motion pictures, or photocopies).

              The term “computer” includes all types of electronic, magnetic, optical,

electrochemical, or other high speed data processing devices performing logical, arithmetic, or

storage functions, including desktop computers, notebook computers, mobile phones, including

“smart” phones, tablets, server computers, and network hardware.

              The term “storage medium” includes any physical object upon which computer data

can be recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMs,

and other magnetic or optical media.




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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                                DISTRICT OF COLUMBIA


 IN THE MATTER OF THE SEARCH OF:

 BLACK 2014 CHEVROLET CRUZE LS                     Case No. 21-sw-47
 WITH FLORIDA LICENSE PLATE
 PK957D AND VIN #1G1PA5SG937283380

            AFFIDAVIT IN SUPPORT OF SEARCH AND SEIZURE WARRANT

       I, Jerrod C. Hughes, being first duly sworn, depose and states as follows:

                     AFFIANT’S BACKGROUND AND EXPERIENCE

       1.      I am an investigative or law enforcement officer of the United States within the

meaning of Title 18, United States Code Section, 2510(7), that is, an officer of the United States

who is empowered by law to conduct investigations of and to make arrests for the offenses

enumerated in Section 2516 of Title 18, United States Code.

       2.      I have been a sworn police officer with the Metropolitan Washington Airports

Authority Police Department (MWAAPD) since January 2001. I have been assigned to the

Criminal Investigations Section as a Detective since January 2008 and have investigated numerous

types of crimes, including but not limited to fraud, money laundering, narcotics and organized

crime. I have conducted and/or participated in numerous narcotics investigations resulting in the

arrest and/or conviction of drug distributors and the seizure of quantities of controlled substances

and other evidence affiliated with drug distribution I am currently assigned to the DEA Group

Thirty-Three at the Washington Division Office, located in Annandale. VA. I have investigated,

and assisted in the investigation of many narcotics traffickers and possessors. I have previously

participated in investigations which have led to the arrest and conviction of narcotics dealers and

money launderers.


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       3.      Since 2001, I have received training and experience in interviewing and

interrogation techniques, arrest procedures, search warrant applications, surveillance, undercover

operations, operations involving cooperating sources, and a variety of other investigative tools

available to law enforcement officers. In the course of my training and experience, I have become

familiar with the methods and techniques associated with the distribution of narcotics, the

laundering of proceeds derived from the sale of narcotics, and the organization of drug

conspiracies. In the course of conducting these investigations, I have been involved in the use of

the following investigative techniques, among others: interviewing informants and cooperating

sources; conducting physical surveillance; conducting short-term and long-term undercover

operations, including reverse undercover operations; consensual monitoring and recording of both

telephonic and non-telephonic communications; analyzing telephone pen register and caller

identification data; conducting court-authorized electronic surveillance; preparing and executing

search warrants which have led to substantial seizures of narcotics, firearms, contraband, and drug

related assets; and analysis of financial documents and records.

       4.      During my time as a law enforcement officer, I have become knowledgeable about

the methods and modes of narcotics operations, and the language and patterns of drug use and

trafficking. I have gained knowledge in the use of various investigative techniques including the

use of wiretaps, physical surveillance, undercover agents, confidential informants and cooperating

witnesses, the controlled purchases of illegal narcotics, electronic surveillance, consensually

monitored recordings, investigative interviews, financial investigations, the service of Grand Jury

Subpoenas, and the execution of search and arrest warrants.

       5.      Based on my training and experience, I know that individuals involved in criminal

activities will often communicate with their associates before, during, or after the crime by using



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cellular telephones and that communication can be made through either verbal conversation, third

party communication applications, or through the use of text messages between the two

communicating parties’ cellular telephones or other devices. It is also commonly understood and

known that many people in our society communicate with their cellular telephones and other

devices in both manners.

       6.      Based on my training and experience, I also know that information gained through

the obtaining of data stored in the cellular telephone and other devices routinely referred to as an

address book or contacts file in an individual’s cellular telephone and other devices, as well as the

recovery of text messages sent or received from that cellular telephone and other devices can lead

to identifying accomplices or witnesses to the crimes committed by the individual.

       7.      Based on my training and experience, I also know that individuals frequently

maintain personal records and documents in an electronic format on laptop computers and/or smart

phones. Further, based on my training and experience in executing court-authorized search

warrants, I also know that drug traffickers commonly maintain at their residences and on their

property, including in their vehicles, additional quantities of the illicit drugs being distributed.

These drugs may be concealed in locations known to the traffickers to avoid law enforcement

detection. Drug traffickers also commonly maintain at their residences and on their property,

including in their vehicles, paraphernalia for packaging, processing, diluting, weighing and

distributing controlled substances.

       8.      Based on my training and experience in executing court-authorized search

warrants, I know that drug traffickers often amass large proceeds from the sale of controlled

substances and attempt to legitimize these profits, often utilizing domestic banks and their

attendant services, securities, cashier’s checks, money orders, letters of credit, brokerage houses,



                                                     3
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real estate, shell corporations, and business fronts. When drug traffickers amass large proceeds

from the sale of controlled substances, they often keep large amounts of United States currency

within their residences to conceal it from law enforcement.

       9.      Based on my training and experience in executing court-authorized search

warrants, I also know that drug traffickers commonly maintain at their residences money ledgers

and other documents, which note the price, quantity, date and/or times when controlled substances

were purchased, possessed, transferred, distributed, sold or concealed, or when money was

possessed or transferred.

       10.     Based on my training and experience in executing court authorized search warrants,

I also know that drug traffickers commonly own firearms to protect themselves, their profits, and

their narcotics from others while engaging in the illegal activity of distributing narcotics.

       11.     The facts and information contained in this affidavit are based upon my personal

knowledge of the investigation and information obtained from other state and federal law

enforcement officers.

       12.     Wherever in this affidavit I discuss information resulting from physical surveillance

conducted in this investigation, that information, except where otherwise indicated, does not set

forth my own personal observations, but rather that which has been provided directly or indirectly

to me through other law enforcement officers who made such observations.

       13.     This affidavit contains information necessary to support probable cause. The

information contained in this affidavit is not intended to include each and every fact and matter

observed by me or known to the government.

                             REQUESTED SEARCH WARRANT




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       14.     I make this affidavit in support of an application under Rule 41 of the Federal Rules

of Criminal Procedure for a warrant to search the vehicle further described as a black 2014

Chevrolet Cruze LS with Florida license plate PK957D with VIN# 1G1PA5SG937283380

(hereinafter the TARGET VEHICLE), further described in Attachment A, for the items described

in Attachment B.

       15.     Based on the facts set forth in this affidavit, there is probable cause to believe that

evidence of criminal violations of 21 U.S.C. §§ 841(a)(1) (possession with intent to distribute

controlled substances) and 846 (conspiracy to distribute controlled substances) will be located in

the TARGET VEHICLE, which was used by Ericka Sheree OLIVER, a/k/a “Chip” (hereinafter,

“OLIVER”).

                                      PROBABLE CAUSE

       A.      Background of the Investigation

       16.     In early 2020, law enforcement obtained information about subjects distributing

quantities of controlled substances in the Eastern District of Virginia and elsewhere. During the

course of this investigation, law enforcement has seized large quantities of fentanyl and other

controlled substances, along with corresponding evidence that identified OLIVER as conspiring

with others to distribute controlled substances.

       17.     On February 8, 2021, law enforcement sought a criminal complaint and arrest

warrant for OLIVER, charging her and a co-conspirator with conspiracy to distribute 400 grams

or more of a mixture and substance containing a detectable amount of fentanyl, in violation of Title

21, United States Code, Sections 841(a)(1) and 846. The Complaint and Affidavit in Support of

the Criminal Complaint are attached hereto as Exhibit 1 and incorporated by reference.




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       18.     As evidenced in Exhibit 1, the investigation revealed that OLIVER has utilized

cellular devices extensively to facilitate her drug trafficking. Messages sent and received by

OLIVER involving drug trafficking were derived from co-conspirator’s phones (Exhibit 1, ¶¶ 30-

47, 55-60), co-conspirator’s iCloud accounts (Exhibit 1, ¶¶ 62-71, 81-106), and OLIVER’s iCloud

account (Exhibit 1, ¶¶ 76-79).

       B.      Arrest of OLIVER in Washington, D.C.

       19.     On February 9, 2021, law enforcement executed search warrants on two residences

associated with OLIVER in the District of Maryland, and made efforts to locate OLIVER and take

her into custody. During the execution of the warrant at what was believed to be OLIVER’s

primary residence, law enforcement seized numerous suspected fentanyl pills, a money counter,

and packaging consistent with precursor ingredients utilized in manufacturing pills.

       20.     Pursuant to a prior warrant and Order in the Eastern District of Virginia, law

enforcement was monitoring cell phone location data for OLIVER using cellular telephone number

202-***-2424. A 2020 federal search warrant for an un-indicted co-conspirator’s (UCC-1) Apple

records had revealed communications between UCC-1 and OLIVER, who began using phone 202-

***-2424, in June 2020. In my training and experience, it is common for narcotics traffickers to

change phone numbers in order to thwart law enforcement detection. In the messages, OLIVER

identified herself as “Chip, and law enforcement reviewed the materials provided by Apple, which

included iMessages, chats, SMS, MMS, images, and other data. During the review of the

downloaded contents, several messages were located between OLIVER and UCC-1 which were

indicative of suspected drug trafficking and corroborated other details of the criminal conspiracy.

In addition, call detail records for 202-***-2424 revealed continued communications between

OLIVER and previously identified co-conspirators in this investigation, up to an including



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February 8, 2021. On February 9, 2021 the electronic monitoring indicated that OLIVER had left

her Maryland residence around approximately 03:00 hours on February 9, 2021 and traveled to

the Rosewood Hotel, located at 1050 31st Street, NW, Washington, D.C. 20007. GPS data

indicated that OLIVER was in the area of the Rosewood Hotel.

       21.     Law enforcement verified with management at the Rosewood Hotel that OLIVER

had checked in early in the morning on February 9, 2021, and ascertained a room number of 407.

       22.     Law enforcement knocked on the door to 407 and identified themselves in order to

make contact with OLIVER and take her into custody on the outstanding arrest warrant. After a

delay, OLIVER opened the door and stepped into the hallway. The door to the room shut and

locked behind her, and she did not have a key for the room on her person. OLIVER had a small

wallet with some credit cards and her license on her person, and indicated that her cell phone was

inside the room. When asked if she wanted to retrieve her cell phone, or any other property from

the room, before she was transported away from the hotel, OLIVER declined. She also declined

to give law enforcement consent to search the room.

       23.     Law enforcement observed that OLIVER’s shirt cuffs were wet. When asked about

it, OLIVER indicated that she had been sick and throwing up, and that was why her cuffs were

wet. In my training and experience, subjects being taken into custody will try to discard evidence

by either flushing it down a toilet or washing it down the sink. OLIVER was taken into custody

and transported to the Alexandria Adult Detention Center, and law enforcement maintained the

exterior of the hotel room in anticipation of a search warrant.

       24.     Law enforcement also learned that when OLIVER checked in on February 9, 2021,

she had valeted the TARGET VEHICLE, which was parked in the parking garage of the hotel.




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        25.     On February 10, 2021, Detective Briant (who is employed by the Fairfax County

Police Department), and his K-9 “Storm” responded to the hotel and conducted a “sweep” of the

TARGET VEHICLE which resulted in a positive alert for the possible presence of a controlled

substance. Detective Briant and “Storm” were trained by the United States Customs and Border

Protection Canine Program and have received basic training in the detection of odors of cocaine

and its derivatives, marijuana and its derivatives, heroin and its derivatives, methamphetamine and

its derivatives, and Ecstasy. Detective Briant and “Storm” were certified on December 12, 2018

by the United States Customs and Border Protection Canine Program as a controlled substance

detection canine team and their certification was renewed on October 16, 2020 and remains

current.

        26.     Law enforcement secured the TARGET VEHICLE in a secure location in

Washington, D.C. in anticipation of seeking a search warrant. The vehicle is unoccupied at this

time.

        C.      Search Warrant executed at Rosewood Hotel

        27.     On February 10, 2021, law enforcement executed a federal search warrant (United

States District Court for the District of Columbia, case number 21-sw-42) on Room 407. During

the execution of the search warrant, law enforcement seized two (2) cellular phones that had been

returned to factory settings, jewelry valued in excess of $60,000, and $58,900 in U.S. currency.

Law enforcement also noted that there appeared to be an unknown substance in the toilet, appeared

to be clogged. The bathroom was positioned near the entry door to the room, and a sample of the

water/substance from the toilet was taken to be sent for laboratory analysis.




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               COMPUTERS, ELECTRONIC STORAGE, AND FORENSIC ANALYSIS

       28.      As described above and in Attachment B, this application seeks permission to

search for records that might be found in the TARGET VEHICLE, in whatever form they are

found. One form in which the records might be found is data stored on a computer’s hard drive

or other storage media. Thus, the warrant applied for would authorize the seizure of electronic

storage media or, potentially, the copying of electronically stored information, all under Rule

41(e)(2)(B).

       30.       Probable cause. I submit that if a computer or storage medium is found in

TARGET VEHICLE, there is probable cause to believe those records will be stored on that

computer or storage medium, for at least the following reasons:

             a. Based on my knowledge, training, and experience, I know that computer files or

remnants of such files can be recovered months or even years after they have been downloaded

onto a storage medium, deleted, or viewed via the Internet. Electronic files downloaded to a

storage medium can be stored for years at little or no cost. Even when files have been deleted,

they can be recovered months or years later using forensic tools. This is so because when a person

“deletes” a file on a computer, the data contained in the file does not actually disappear; rather,

that data remains on the storage medium until it is overwritten by new data.

             b. Therefore, deleted files, or remnants of deleted files, may reside in free space or

slack space—that is, in space on the storage medium that is not currently being used by an active

file—for long periods of time before they are overwritten. In addition, a computer’s operating

system may also keep a record of deleted data in a “swap” or “recovery” file.

             c. Wholly apart from user-generated files, computer storage media—in particular,

computers’ internal hard drives—contain electronic evidence of how a computer has been used,



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what it has been used for, and who has used it. To give a few examples, this forensic evidence can

take the form of operating system configurations, artifacts from operating system or application

operation, file system data structures, and virtual memory “swap” or paging files. Computer users

typically do not erase or delete this evidence, because special software is typically required for that

task. However, it is technically possible to delete this information.

           d. Similarly, files that have been viewed via the Internet are sometimes automatically

downloaded into a temporary Internet directory or “cache.”

       31. Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only computer files that might serve as direct evidence of the crimes

described on the warrant, but also for forensic electronic evidence that establishes how computers

were used, the purpose of their use, who used them, and when. There is probable cause to believe

that this forensic electronic evidence will be on any storage medium in TARGET VEHICLE

because:

               a.      Data on the storage medium can provide evidence of a file that was once on

the storage medium but has since been deleted or edited, or of a deleted portion of a file (such as

a paragraph that has been deleted from a word processing file). Virtual memory paging systems

can leave traces of information on the storage medium that show what tasks and processes were

recently active.    Web browsers, e-mail programs, and chat programs store configuration

information on the storage medium that can reveal information such as online nicknames and

passwords. Operating systems can record additional information, such as the attachment of

peripherals, the attachment of USB flash storage devices or other external storage media, and the

times the computer was in use. Computer file systems can record information about the dates files




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were created and the sequence in which they were created, although this information can later be

falsified.

               b.     As explained herein, information stored within a computer and other

electronic storage media may provide crucial evidence of the “who, what, why, when, where, and

how” of the criminal conduct under investigation, thus enabling the United States to establish and

prove each element or alternatively, to exclude the innocent from further suspicion. In my training

and experience, information stored within a computer or storage media (e.g., registry information,

communications, images and movies, transactional information, records of session times and

durations, internet history, and anti-virus, spyware, and malware detection programs) can indicate

who has used or controlled the computer or storage media. This “user attribution” evidence is

analogous to the search for “indicia of occupancy” while executing a search warrant at a residence.

The existence or absence of anti-virus, spyware, and malware detection programs may indicate

whether the computer was remotely accessed, thus inculpating or exculpating the computer owner.

Further, computer and storage media activity can indicate how and when the computer or storage

media was accessed or used. For example, as described herein, computers typically contain

information that log: computer user account session times and durations, computer activity

associated with user accounts, electronic storage media that connected with the computer, and the

IP addresses through which the computer accessed networks and the internet. Such information

allows investigators to understand the chronological context of computer or electronic storage

media access, use, and events relating to the crime under investigation. Additionally, some

information stored within a computer or electronic storage media may provide crucial evidence

relating to the physical location of other evidence and the suspect. For example, images stored on

a computer may both show a particular location and have geolocation information incorporated



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into its file data. Such file data typically also contains information indicating when the file or

image was created. The existence of such image files, along with external device connection logs,

may also indicate the presence of additional electronic storage media (e.g., a digital camera or

cellular phone with an incorporated camera). The geographic and timeline information described

herein may either inculpate or exculpate the computer user. Last, information stored within a

computer may provide relevant insight into the computer user’s state of mind as it relates to the

offense under investigation. For example, information within the computer may indicate the

owner’s motive and intent to commit a crime (e.g., internet searches indicating criminal planning),

or consciousness of guilt (e.g., running a “wiping” program to destroy evidence on the computer

or password protecting/encrypting such evidence in an effort to conceal it from law enforcement).

               c.     A person with appropriate familiarity with how a computer works can, after

examining this forensic evidence in its proper context, draw conclusions about how computers

were used, the purpose of their use, who used them, and when.

               d.     The process of identifying the exact files, blocks, registry entries, logs, or

other forms of forensic evidence on a storage medium that are necessary to draw an accurate

conclusion is a dynamic process. While it is possible to specify in advance the records to be

sought, computer evidence is not always data that can be merely reviewed by a review team and

passed along to investigators. Whether data stored on a computer is evidence may depend on other

information stored on the computer and the application of knowledge about how a computer

behaves. Therefore, contextual information necessary to understand other evidence also falls

within the scope of the warrant.

               e.     Further, in finding evidence of how a computer was used, the purpose of its

use, who used it, and when, sometimes it is necessary to establish that a particular thing is not



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present on a storage medium. For example, the presence or absence of counter-forensic programs

or anti-virus programs (and associated data) may be relevant to establishing the user’s intent.

           32.   Necessity of seizing or copying entire computers or storage media. In most cases,

a thorough search of a premises for information that might be stored on storage media often

requires the seizure of the physical storage media and later off-site review consistent with the

warrant. In lieu of removing storage media from the premises, it is sometimes possible to make

an image copy of storage media. Generally speaking, imaging is the taking of a complete

electronic picture of the computer’s data, including all hidden sectors and deleted files. Either

seizure or imaging is often necessary to ensure the accuracy and completeness of data recorded on

the storage media, and to prevent the loss of the data either from accidental or intentional

destruction. This is true because of the following:

                 a.     The time required for an examination. As noted above, not all evidence

takes the form of documents and files that can be easily viewed on site. Analyzing evidence of

how a computer has been used, what it has been used for, and who has used it requires considerable

time, and taking that much time on premises could be unreasonable. As explained above, because

the warrant calls for forensic electronic evidence, it is exceedingly likely that it will be necessary

to thoroughly examine storage media to obtain evidence. Storage media can store a large volume

of information. Reviewing that information for things described in the warrant can take weeks or

months, depending on the volume of data stored, and would be impractical and invasive to attempt

on-site.

                 b.     Technical requirements. Computers can be configured in several different

ways, featuring a variety of different operating systems, application software, and configurations.

Therefore, searching them sometimes requires tools or knowledge that might not be present on the



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search site. The vast array of computer hardware and software available makes it difficult to know

before a search what tools or knowledge will be required to analyze the system and its data at the

TARGET VEHICLE. However, taking the storage media off-site and reviewing it in a controlled

environment will allow its examination with the proper tools and knowledge.

               c.      Variety of forms of electronic media. Records sought under this warrant

could be stored in a variety of storage media formats that may require off-site reviewing with

specialized forensic tools.

       33.     Nature of examination.      Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit seizing, imaging, or otherwise copying

storage media that reasonably appear to contain some or all of the evidence described in the warrant

and would authorize a later review of the media or information consistent with the warrant. The

later review may require techniques, including but not limited to computer-assisted scans of the

entire medium, that might expose many parts of a hard drive to human inspection in order to

determine whether it is evidence described by the warrant.




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                                         CONCLUSION

       34.     Based on the foregoing, which includes Exhibit 1, I submit that there is probable

cause to believe that OLIVER and other individuals, both known and unknown, conspired to

distribute and possess with the intent to distribute controlled substances, in violation of Title 21,

United States Code, Sections 841(a)(1) and 846. Furthermore, there is probable cause to believe

that evidence and instrumentalities of the crimes described herein and as set forth more fully in

Attachment B to the warrant application, incorporated herein by reference, are contained or

secreted within the TARGET VEHICLE.




                                                      Respectfully submitted,



                                                      ___________________________________
                                                      Jerrod C. Hughes
                                                      Task Force Officer
                                                      Drug Enforcement Administration



Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on February 12, 2021.



ROBIN M. MERIWEATHER
United States Magistrate Judge




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